RCS: DAPCX-543 Case 2:14-cv-01884-BJFORORTHGIAL USE QINEY05/22/17 Pagelof66 PCN: ZL9-cR2

 

STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2011-10-25 / 16:24:00 Po

Spouse Casualty Assistance Officer Report attached to DCIPS and email sent to hrc.cmaoc.peddopn.

2011-10-25 / 16:37:00 FP

MSG (J requested Financial Counseling for ij and (I GJ per instructions from BEST. | have
contacted (] SOS FC at LEA CAC, for services.

2011-10-26 / 10:02:00 Po

GS «FC LEA CAC, replied he can assist with financial questions of Mr. and Mrs. {Mj but no additional benefit
counseling would be necessary. | also gave MSG MM contact information for LEA CAC BC i and grief
counseling resources (Vet Center and LSS/CORE). | have assigned myself as the inactive SOS C for the parents.
2011-10-27 / 10:24:00 CAO Po

Formal introduction made with SFC ii (CAO for Husband); confirmed address/contact information in DCIPS (added
SSN). Reviewed Initial CAO Report with pending actions being forwarded by email to SFC J and Ft Stewart CAC
Office (Ms. J] «SFC (J while reviewing his CAO Report, mentioned if | knew what was going on with the Soldier.
When asked what he meart, SFC ia proceeded to inform me that, his personal opinion/suspicion only of PFC Aguigui,
due to home still being sealed off since his wifes' death is that PFC Aguigui may have something to do with the situation.
SFC r stated that he wanted to ensure that he had no facts in the matter and was only addressing his opinion. PFC
Aguigui (Husband) is currently living in the barracks across from his Unit until final investigations are completed; home has
been sealed off. SFC J will provide address of PFC Aguigui's location. The SCMO is also unable to enter the home
to remove any TAS50's, etc until home is available for re-entry. PFC Aguigui received an Article 15 (month ago) and received
extra duty; currently under review to be Chaptered out of military; date unknown at this time per SFC

2011-10-27 / 11:15:00 FSGLI Hold - Possible Bene Involvement Po

HOLD FSGLI: Per CID, the spouse is a person of interest for the death of the soldier and the stillborn child. SGLI has
already been paid, but no FSGLI has. Emailed heads-up to Mr. J and SFC J FSGLI certifiers.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2011-10-27 / 11:48:00 UPPA/BAH Po

Contacted Ms. J w/DFAS on 27 Oct 11 regarding Unpaid Pay and Allowance which is to be issued to PFC
Aguigui (Husband). Ms. J will pull Soldier's file and place a hold on UPPA payment. Ms. {J also stated that BAH
payment in amount of $11,232.00, based on circumstances, should not have been paid to PFC Aguigui.

2011-10-27 / 11:57:00 DIC
Contacted Mr. (J of VA reference holding DIC payments to PFC Aguigui (Husband) until further notice due to
circumstances pertaining to PFC Aguigui. Mr. fe | retrieved SGT Deirdre Aguigui's file and placed a note to hold

payment.

2011-10-27 / 12:00:00
Based on {ij EJ conversation with the CAO, | contacted CID to confirm that the BJE #38, posted on 21 July 2011,
was correct. | spoke to CW4 MY 912-767-3334. He is the replacement for the previous agent (CW2 ij
na | read the journal entry to CW4 Bauman and asked him to confirm that the spouse (PFC Isaac Aguigui) is NOT a
person of interest. CW4 Bauman stated that PFC Aguigui is STILL a person of interest. His notes indicated that PFC
Aguigui had received the $100K of DG, but that the $400K of SGLI was being withheld. | advised him that the $100K DG
and the $400K SGLI had both been paid.

| spoke to COL J and verified that we should hold all other outstanding payments. Spoke to Ms. {J z she will put a
hold on the $100K FSGLI for SGT Aguigui and $10K for her unborn child. Spoke to Ms. {J ~ she will put a hold on the
SBP. Spoke to Ms. {ij will put a hold on the UPPA. Spoke to J & he will put a hold on the DIC.
2011-10-27 / 12:06:00 MGIB Po

Spoke with SSG J (Transition Team - MGIB Rep), 3-8044 in order to get a POC at VA reference MGIB accounts.
SSG fF stated that he will contact VA, inquire as to whether there is funds available in SGT Aguiguis' account and
how much, and reference who he spoke with at VA. SSG {J will have VA place a hold on the account until further
notice. Request SSC to return call with information and person spoken to from VA.

2011-10-27 / 12:07:00 Po
VERIFYING WITH VA AS OF 270CT20111208. NO ANSWER AS OF NOW. WILL CONTACT THIS AFTERNOON TO
PUT AHOLD ON CLAIM.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2011-10-27 / 14:29:00 MGIB Po

Received return call from Se] (Transition Team) regarding MGIB payment. Per his contact with VA on 27 Oct 11,
payment in the amount of $1200 was made to PFC Aguigui (Husband), on 16 Sep 11 for the Montgomery GI Bill. SSG
fF noted same on MGIB Benefits Tab; information has been placed in Casualty Document Tracking.

2011-10-27 / 14:30:00
updated MGIBill TAB.
2011-10-28 / 13:43:00
Contacted Ms. ij (Ft Stewart CAC), 27 Oct 11 and Ms. J (Ft Leavenworth CAC) on 28 Oct 11 regarding status
of PFC Aguiguis' case. Informed them that all remaining financial benefits are being placed on hold until further notice. This
action was being done due to PFC Aguigui still being a person of interest (see JE 105 dt 27 Oct 11).

2011-10-28 / 16:26:00 Will email Ms. ij (BEST)
AAR Parents uploaded to DCIPS

2011-11-08 / 12:47:00

Received an email from LEA CAC and the parents' CAO requesting update on the following items:

CID - This report is not complete. The agent should provide regular updates to the parents. | just called CID and requested
that the agent call Mr. and Mrs. {J The FOIA for the parents has been received. When the report is complete, it will
be released to them.

LOD - This report is not complete. The FOIA for the parents has been received. When the report is complete, it will be
released to them.

Autopsy - This report is not complete. The FOIA for the parents has been received. When the report is complete, it will be
released to them.

15-6 - This report is not complete. No FOIA was generated for this report. The case manager, JJ I wil! prepare
the letter and send it to the CAO for signature. Please have the parents sign and return it.

Final DD 1300 - The final DD 1300 cannot be issued until we receive the final death certificate with cause and manner of
death. | checked with the AFME - the cause and manner of death has not been finalized.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2011-11-08 / 14:43:00 Po
From: (i J § CTR Us USA Tue 11/8/2011 2:44 PM

To: [I BEEN SFC MIL USA

Cc: SS § GB Cw2 MIL usA FORSCOM; STEW CASUALTY-AG - IMSE-STW-HRM
Subject: SGT Aguigui, Case #456057, DOD 17 Jul 2011, ARCOM Award (UNCLASSIFIED)

Signed by: IS a i

SFC J (CAO for Husband)

In reference to the ARCOM Award, request confirmation and date of receipt of the Award by the Parents of SGT Deirdre
Aguigui. According to Journal Entries made on behalf of the Award: on 26 July 11, Unit was still processing; on 8 Aug 11,
question as to whether Unit was going to award a posthumous ARCOM to SGT Aguigui; 23 Aug 11, monitoring of the
ARCOM from the Unit and presentation to the Family, and on 25 Aug 11, ARCOM award was attached to DCIPS.

There was indication that the ARCOM was presented to Mr and Mrs J on 04 Aug 11. As this may not be correct;
request that an accurate date be provided which ensures that the Parents actually received the award.

Spoke with CW2 [J Courtesy CAO (while parents where in the Ft Stewart area), and he referenced that the ARCOM
Award was in the casing of the Flag; which included the medals on the day of burial ceremony. CW2 {J requested
that confirmation be made with you as to certainty of receipt and delivery.

Thank you in advance for your cooperation in this matter.

Ms.

Case Manager

Casualty and Mortuary Affairs Operation Center

Benefits and Entitlements Support Team

(502) 613-8231

2011-11-08 / 15:46:00 SSA Po

Contacted SSA Office and spoke with Mr. L (SSA Rep), on 8 Nov 11, to request a note be placed on SGT Aguigui's file
regarding her Husband (PFC Aguigui) being a person of interest by CID Investigators. Mr. a mentioned that he could only
place a note and if PFC Isaac Aguigui files a claim for payment, SSA will make the final determination on elgibility.
2011-11-08 / 16:52:00 FOIA Po

Forwarded signed FOIA Request to HRC CMAB Investigations on 8 Nov 11 for the CID and LOD Investigative Reports for
(PFC) Isaac Aguigui (Husband).

Submitted the blank AR 15-6 and Autopsy FOIA Request to Ft Stewart CAC (Ms. {J and CAO (SFC J for (PFC)

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
Isaac Aguigui's signature.
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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT

Date / Time CAC/BASE Name HQ Action Officer
2011-11-30 / 11:48:00 CID ROI DATED 29 NOV 2011/2D STATUS REPORT Po
CID ROI DATED 29 NOV 2011.
2ND STATUS

THIS REPORT PROVIDES AN INVESTIGATIVE UPDATE. SINCE 17 JUL 11, THIS
OFFICE HAS CONDUCTED A SCENE EXAMINATION, ATTENDANCE AT THE
AUTOPSY OF SGT AGUIGUI, WITNESS INTERVIEWS, AND A REVIEW OF SGT
AGUIGUIZS MEDICAL RECORDS.

ON 27 JUL 11, DIGITAL EVIDENCE RECOVERED FROM THE SCENE WAS SUBMITTED
TO USACIL DIGITAL EVIDENCE BRANCH FOR FORENSIC EXAMINATION. RESULTS
OF THE EXAMINATION IS PENDING. THE ARMED FORCES MEDICAL EXAMINERS
SYSTEM REPORT IS ALSO PENDING.

INVESTIGATION CONTINUES BY CID.

2011-12-05 / 14:44:00 PF

Spoke with SFC J and provided an update on Autopsy and Investigative reports as follows, as of 05 Dec 11:

- AFME, per SE EEE - stil! pending

- LOD has not been completed
- CID has not been completed (CID Agent is to provide regular updates to Parents)
- 15-6 has not been completed (Per CAO, Parents do not wish copies of 15-6 report)

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2011-12-09 / 17:46:00 Posthumous Award Certificate for Parents i a

Had a brief conversation with former Commander (CPT {and provided him this email (as he requested) to have
the current Chain of Command help generate another copy of the Posthumous ARCOM for the parents of SGT Aguigui.

---—-Original Message-—---

From: { ME § CPT USA MIL (Us)

Sent: Friday, December 09, 2011 5:45 PM

on cor vss oS)
Cc: I GH § CPT USA MIL (Us)

Subject: SGT Aguigui, Deirdre A. - Award Follow Up (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

CPT

Reference our previous phone conversation, the Posthumous ARCOM awarded by
Company B, 4-3 BSTB will need to be generated again for the Parents of SGT
Deirdre Aguigui who did not receive a copy at the time the Husband was
presented his at the Unit Memorial. A printed copy of the original 638

should be provided with another certificate. If the signature on the actual

certificate is different that is ok also since the COL who originally signed

may be unavailable as you said.

Thank you for your help on this. | greatly appreciate it.

VIR,

CPT 7 7

Casualty Case Manager

Department of the Army

US Army Human Resources Command
1600 Spearhead Division Ave.

Fort Knox, KY 40122

PH: (502) 613-8297

FAX: (502) 613-4505

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
EMAIL: Si rs
General EMAIL: hrc.cmaoc.peddopn@conus.army.mil
"Be the change you hope to see."
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2011-12-13/ 11:00:00 C4 |

| spoke to CID agent CW4 ( 912-767-3334. He confirmed that the spouse, Isaac Aguigui, has been arrested

and charged in connection with the murder of two individuals: Po

He anticipates that Isaac Aguigui will also be charged in connection with the death of Deirdre Aguigui.

He asked me to confirm whether the spouse had received the $400K of SGLI. | confirmed that $400,185.75 was paid on
08/19/2011.

2011-12-15 / 09:03:00 CID ROI DATED 14 DEC 2011/3RD STATUS REPORT
CID ROI DATED 14 DEC 2011.
3RD STATUS:

THIS REPORT IDENTIFIES PFC AGUIGUI AS THE SUBJECT OF MURDER.

THE SPECIAL AGENT IN CHARGE AND THE BENNING CID BATTALION OPERATIONS

OFFICER DETERMINED THERE WAS MORE THAN SUFFICIENT CREDIBLE

INFORMATION TO BELIEVE PFC AGUIGUI MURDERED HIS WIFE AND THEIR

UNBORN CHILD. THIS DECISION WAS BASED UPON PFC AGUIGUI'S COMMENTS TO

SIGNIFICANT WITNESSES HE WAS ABOUT TO GAIN A LARGE SUM OF MONEY, HIS

AFFAIRS WITH OTHER WOMEN, STATEMENT THAT SGT AGUIGUI'S UNBORN CHILD

WAS NOT HIS, SGT AGUIGUI'S ALLERGY TO THE SUBSTANCE AGUIGUI

PURCHASED BEFORE HE RETURNED TO FSGA, AND HIS DEEP INVOLVEMENT WITH

OTHER THE MURDER OF OTHER PEOPLE.

THIS OFFICE IS STILL PENDING THE FINAL AUTOPSY REPORT AND ADDITIONAL

CANVASS INTERVIEWS OF UNIT MEMBERS.

INVESTIGATION CONTINUES BY CID.

2011-12-16 / 13:16:00 SFC J CAO Report FY

Received call from SFC {J (CAO for Parents) on the submittal of his Final CAO Report. SFC J inquired on
status of ARCOM Award for Mr. and Mrs. {J informed him that CPT {J of CMAOC Case Management was
coordinating with the Commander (CPT {J to have Chain of Command generate another copy of the Posthumous
ARCOM Award (pending receipt).

SFC (J was meeting with Ms. {J of the Ft Stewart CAC Office at time of call. Spoke with Ms. {J and she will
be finalizing SFC J CAO Report; attach same to DCIPS, and requested that any Investigative Reports and/or
remaining documents pertaining to the Parents of SGT Aguigui be forwarded to the Ft Stewart CAC Office.

2011-12-20 / 12:43:00 Noted FY

Uploaded current AAR on parents to DCIPS. will email Ms.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-01-04 / 12:43:00 Po

Discovered that DFAS paid the UPPA to the husband on 19 Dec 2011.

Called Mr. {J He said that he saw no notes regarding spousal involvement, despite my call to A in
October. He said that the check had not been returned.

Attempted to call CW4 (I CID Special Agent. No answer. Left a message asking him to call me back. If CID
has access to his mail, we will request return of the check.

2012-01-04 / 12:44:00 UPPA Po

During final review of the SGT Aguigui case for transfer, the Arrears Tab showed the UPPA payment was made to PFC
Aguigui on 19 Dec 2011 in the amount of $9,318.98. UPPA payment was placed on hold on 27 Oct 11 by VA to
GE © DFAS. A follow-up is on-going into attempts to retrieve the check and/or arrange a stop payment by MAJ

GB OC, BEST.
2012-01-04 / 16:56:00 UPPA Status Po

Spoke to a CPT ia OIC, 912-435-7637 (6/8 Cav 4th Inf Combat Team 3rd Inf Div) to assist in locating UPPA check
sent from DFAS to PFC Aguigui on 19 Dec 11. The Mail Room was closed and CPT iii will have the Mail Room Clerk
check first thing in the morning; and also see who the recipient of PFC Aguiguis' mail is. CPT i will have someone
return my call with the findings by 5 Jan 12.

2012-01-04 / 17:58:00 Po

Spoke to CW4 (Advised him that the UPPA had been paid to PFC Isaac Aguigui in error. He asked
whether DFAS could put a stop payment on the check.

Called Mr. || at DFAS. He said that putting a stop payment on the check does not necessarily prevent the check from
being negotiated. He confirmed that the check had been sent to the i address ¢ the address where the soldier
passed away. He said that Treasury checks are not supposed to be forwarded ¢ it should be returned to DFAS. He
confirmed that he has documented instructions to cancel the check and not reissue it.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-01-05 / 09:08:00 Initial DD1300 Po

Was contacted by MSG [J (CAO for Parents) that Mr. and Mrs. {J were requesting extra copies of the Initial
DD1300 dt 04 Aug 11. Reason for request was due to most of the previous DD1300's were forwarded to agencies
pertaining to loans the Parents had co-signed for on behalf of their Daughter (SGT Aguigui). Spoke with SFC ia
CMAOC (CMAB Casualty Support) on 4 Jan 12, and request was approved to have the copies sent to MSG fF on
behalf of the Parents.

Ms. will forward to MSG J on 5 Jan 12. Requested MSG {J to confirm when delivery to

Parents were made.

2012-01-05 / 09:24:00 Po

CAO for the parents, SFC ij §§ SJ requested additional copies of Initia) DD Form 1300. Copies sent on 5
January 2012, FEDEX#7930 8348 6179.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-01-05 / 15:39:00 ARCOM Award Po

From: (i GJ § CTR (US) Thu 1/5/2012 3:39 PM
To: a a

Cc: (GS VSG NGMN‘; USARMY Ft Knox HRC Mailbox TAGD CMAOC PEDDOPN
Subject: SGT Aguigui, Case #456057, DOD 17 Jul 2011 - ARCOM Award for Parents (UNCLASSIFIED)

Signed 5: I i

Mr. SR (Ft Stewart CAC)

Contacted 1LT J Battalion Adjutant, 4-3 BSTB, 4 IBCT who confirmed that the ARCOM Award was sent to
your office on Tues., Jan 3, 2012 to the attention of Mr. f | According to you, subject ARCOM Award has been received,
pending delivery to CAO.

Please FedEx and provide tracking number of the Award to MSG [ij J (CAO for Mr. and Mrs His
address has been verified in DCIPS).

Upon receipt, MSG J will confirm actual delivery to the Parents.

vir

Ms.

Consultant
Booz | Allen | Hamilton (USA)

U.S. Army Human Resource Center of Excellence (HRCoE) Casualty and Mortuary
Affairs Operations Center (CMAOC) Benefits and Entitlement Support Team
Casualty Mortuary Affairs Branch, Room 1-2-028 1600 Spearhead Division
Avenue Fort Knox, Kentucky 40122-5100

Office: 502-613-8231

BAH Ema:
Govt mai! a i

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM __—‘To: 4/3/2015 11:54:00 AM

 

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2012-01-05 / 16:26:00 PF

Benefits and Entitlements Support Team (Transfer Journal Entry #130)
Case Transfer to Transition Team: 5 Jan 2012

Pending Actions:

- Death Certificate

- LOD Determination Pending

- DIC is on HOLD by ia (VA)

- FSGLI is on HOLD by Ms.

- SBP is on HOLD by J.

- Investigation Reports

- Receipt of ARCOM Award to Parents

- TSP Account - funds available; pending Death Certificate
- Final LES to Spouse

- SSA: request to place on HOLD w/Mr. || of SSA
- Receipt of Presidential Memorial Certificates

- Final CAO Reports

- Confirm Decorations/Awards presented to Spouse

2012-01-06 / 08:53:00 PF
a GV Cv UsA IMcoM a GB se 1/5/2012 3:50 Pu

Ps rR (Us)

a Vir Civ USA

RE: SGT Aguigui, Case #456057, DOD 17 Jul 2011 - ARCOM Award for Parents (UNCLASSIFIED)

Thanks, Mr. {ij will FedEx the award to the CAO.

Vir,

Mortuary Officer

Casualty Assistance Center
Fort Stewart, GA

(912) 767-6456, DSN 870-6456
Fax: (912) 767-6289

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT

Date / Time CAC/BASE Name HQ Action Officer
2012-01-10 / 10:07:00 Journal Entry DON i
---—-Original Message-—---
From: Sj GJ Mr civ usa

Sent: Tuesday, January 10, 2012 10:05 AM

To: i GE Vr Civ UsA IMCOM; Sg BJ L CTR Us USA
Cc: (s.army.mil'

Subject: RE: SGT Aguigui, Case #456057, DOD 17 Jul 2011 - ARCOM Award for Parents (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

All,

The award was FEDEX'd this morning to MSG Js Tracking number is:
4952 3330 1210.

2012-01-11 / 11:39:00 Po

Amber: CMAOC's Quality Assurance Questionnaire attempt. | left a message for Mr. ij (J (Father, SNOK) on an
identified voice mail.

2012-01-11 / 11:42:00 SFC iy
Ineligible: CMAOC's Quality Assurance Unable to contact Mr. Isaac Aguigui (Husband, PNOK, PADD, PERE) for
Questionnaire attempt due to Survivor being incarcerated.
2012-01-12 / 10:57:00

From: (i GJ R MSG NGMNQB us.army.mil], Wed 1/11/2012 3:39 PM

To: LEAV-CASUALTY

Cc: I BJ L CTR (US); BJ R MSG UsARMY (US)

Subject: January 2012 CAO Checklist for SGT Aguigui, Deirdre A (UNCLASSIFIED)

Only changes are | have received both the DD 1300's and ARCOM to present to the family; have tried to contact them both
electronically and telephonically to coordinate presenting to the family, expect completion either at the end of this week or
beginning of next.

vir

MSC i

347th Regional Support Group
Operations NCO

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JAHRO043463
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RCS: DAPCX-543 Case 2:14-cv-01884-BJROBRERIGIALOUSE ONIEGIO5/22/17 Page 15 0f 66 PCN: ZL9-cR2

 

 

STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
PH: (651) 268-8085
2012-01-17 / 09:21:00 Case Received from Best Team 16 Jan 12 Po
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JAHRO043464
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM __—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-01-17 / 17:02:00 Po

Amber: CMAOC's Quality Assurance Questionnaire attempt. | left a message for Mr. ij (J (Father, SNOK) on an
identified voice mail.

2012-01-25 / 17:32:00 FY

Amber: CMAOC's Quality Assurance Questionnaire attempt. | left a message for Mr. ij (J (Father, SNOK) on an
identified voice mail.

2012-02-02 / 13:11:00 Noted

AAR uploaded on parents to DCIPS. Will email ay I
2012-02-08 / 13:06:00 ‘a |

Green: CMAOC's Quality Assurance completed Questionnaire with Mr. ij (J (Father, SNOK). Questionnaire
completed.

2012-02-08 / 13:46:00 Mr i

Compliment > Army Casualty Program > CAO > Professionalism >

During the CMAOC Quality Assurance Survivor Outreach Questionnaire (SOQ),
Mr. Si GER (Father, SNOK) expressed the following concerns:

-Mr. SM said that CW2 ij SJ from the Fort Stewart CAC deserves a commendation!
He said that CW2 {MJ did things that no one else could do and deserves much recognition.
2012-02-13 / 09:09:00 email to DFAS
DFAS looking for address for Isaac G. Aguigui because of a returned 1099. We have the same address as DFAS.
2012-03-06 / 11:35:00

Certified copies of the Final DD Form 1300 were sent out on 06 March 2012 to:

SFC J | a

FedEx — (Spouse)

 

SFC i i

FedEx #798135744 184(Parents)

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-03-16 / 12:54:00 Combat Action Badge Po

From: ( GR § CTR (US) Fri 3/16/2012 12:53 PM
to: A GG A C!v (Us); casualty@conus.army.mil; i EE J C'v (us)

Cc: SS GJ R MSG USARMY (US); Hre.cmaoc.PEDDOPN@conus.army.mil
Subject: RE: FT LEAVENWORTH: SPC AGUIGUI, Deirdre DCIPS# 456057 (UNCLASSIFIED)

Signed by:
Ms

Spoke with Mr. (E EJ of CMAOC Operations (Awards and Decorations Branch), and he confirmed that SPC
Aguigui was not eligible for the Combat Action Badge.

In accordance with SPC Aguiguis' Enlisted Record Brief (dated 3/1/2011), SPC Aguigui had never deployed to Theater. AR
600-8-22, dated 11 Dec 2006 (8-8 Combat Action Badge) reads as follows:

c. Specific eligibility requirements.

(1) May be awarded to any Soldier.

(2) Soldier must be performing assigned duties in an area where hostile fire pay or imminent danger pay is authorized.

(3) Soldier must be personally present and actively engaging or being engaged by the enemy, and performing satisfactorily
in accordance with the prescribed rules of engagement.

(4) Soldier must be assigned or attached to a unit that would qualify the Soldier for the CIB/CMB. For example, an 11B
assigned to Corps staff is eligible for award of the CAB. However, an 11B assigned to an infantry battalion is not eligible for
award of the CAB.

vir

Mrs. is 2

Consultant
Booz / Allen / Hamilton (USA)

U.S. Army Human Resource Center of Excellence (HRCoE) Casualty and Mortuary
Affairs Operations Center (CMAOC) Benefits and Entitlements Support Team
Casualty Mortuary Affairs Branch, Room 1-2-028, 1600 Spearhead Division
Avenue

Fort Knox, Kentucky 40122-5100

Office: 502-613-8231

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

BAH Eri Vr
Govt Email as Cis is

---—-Original Message----

From: i BR A Civ (us)

Sent: Friday, March 16, 2012 10:21 AM

To: i GR § CTR (US); casualty@conus.army.mil

Cc: SS GE VSG USARMY (US); Hre.cmaoc.PEDDOPN@conus.army.mil
Subject: FT LEAVENWORTH: SPC AGUIGUI, Deirdre DCIPS# 456057 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Good Morning Ms. {J and Ft Stewart CAC,

Please read the below email from MSG {MM and let us know the status. This is the first | heard about a CAB also.

---—-Original Message-----

From: i GE VSG MIL NG MN ARNG
[mailto i us.army.mil]

Sent: Friday, March 16, 2012 8:20 AM
To: LEAV-CASUALTY

Cc: TE MB CIV (US)

Subject: Final AAR for SGT Aguigui, Deirdre A (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Attached is the final AAR for SGT Aguigui.
There is one alibi that the family asked (literally right before | left) me to check on for them.

Apparently at the funeral, SGT Aguigui's husband (currently in jail) had mentioned to the family that paperwork had been put
in for the Combat Action Badge during a deployment. This is the first | had heard of this and with the husband in Jail, | don't
know where we can track this info down. Can someone please check her file to see if there was an award in process or one
complete? If so | will need to add to her flag case. If not! will need to come back with what effort was made (checked her
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM_—‘To: 4/3/2015 11:54:00 AM

 

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

lperms, contacted former unit etc).
Please advise, | owe the family an answer.

vir

MSC i

347th Regional Support Group
Operations NCO
PH: (651) 268-8085

Casualty Operations Coordinator
Office of the Adjutant General
Directorate of Human Resources
U.S. Army Garrison

Combined Arms Center

Fort Leavenworth, KS
913-684-3561

DSN 552-3561

FAX 913-684-3555

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM __—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-03-19 / 17:46:00 Po

Spoke with SFC J (CAO for Spouse); received an envelope from CMAOC at his home, but did not know its contents.
SFC is in training at Ft Irwin and will return 01 Apr 2012. He will take the envelope to Ft Stewart CAC Office (Ms.
GE fo" further action. Informed SFC i that it may be the Fina DD1300 to be forwarded to the Husband (Isaac
Aguigui).

2012-03-21 / 17:29:00 Mr. and Mrs. Po
Delayed entry: on 15 Mar 2012 accompanied MSG {J for a warm handoff with ij and i GR Two

issues were brought up: 1. Isaac Aguigui's parents live in WA and have had no outreach for bereavement support. | contact

SOS SC J BJ and she is contacting JJ and J Aguigui in x EE 2.

GB bad combined Deidre's education loans ($10,000) with her own prior to the death. She would now like them
separated so Deidre's can be discharged. MN JAG CW2{j is willing to assist with this. J is getting the
documents together.

2012-04-05 / 15:35:00 emailed Ms. Po

Final AAR on parents uploaded to DCIPS.

---—Original Message----

From: i PS BCI (US)

Sent: Thursday, April 05, 2012 2:34 PM

To: JE GEE B CTR (US)

Ce: Hre.cmaoc.PEDDOPN@conus.army.mil
Subject: FT LEAVENWORHT: FINAL AAR ON SPC DIERDRE AGUIGUI DCIPS#456057 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Good Afternoon Ms. Say

| uploaded the Final AAR into DCIPS on SPC Aguigui parents.

Casualty Operations Coordinator

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT

Date / Time CAC/BASE Name HQ Action Officer
2012-04-20 / 08:49:00 CID ROI DATED 19 APR 2012/4TH STATUS REPORT (
CID ROI DATED 19 APR 2012.
4TH STATUS:

THIS REPORT PROVIDES A 120 DAY INVESTIGATIVE UPDATE.

SINCE 14 DEC 11, CID HAS CONDUCTED NUMEROUS INTERVIEWS OF AGUIGUI'S
FAMILY MEMBERS, FRIENDS AND COWORKERS, AND RECEIVED THE AFMEO
AUTOPSY REPORT. THE REPORT REVEALED THE CAUSE OF SGT AGUIGUI'S DEATH
COULD NOT BE DETERMINED BY FORENSIC ANALYSIS AND HER TOXICOLOGY
WAS VOID OF ANY CONTROLLED SUBSTANCES OR ETHANOL.

PENDING INVESTIGATIVE ACTIVITY INCLUDES THE RE-INTERVIEW OF PVT
AGUIGUI'S FAMILY FRIEND AND THE RECEIPT OF THE DIGITAL FORENSIC
EXAMINATION OF |. AGUIGUI’S MEDIA, WHICH IS EXPECTED TO BE COMPLETED IN
APPROXIMATELY THREE MONTHS.

INVESTIGATION CONTINUES BY CID.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-04-26 / 16:58:00 emailed SFC ii PF

Request assistance below email about CAB

---—-Original Message-----

From: is i B CIV (US)

Sent: Thursday, April 26, 2012 3:34 PM

To: I) GE & SFc usarmy (us)
Cc: {GS VSG MIL NG MN ARNG’; SE BE A Cv (US); HRC TAGD CMAOC PEDDOPN
Subject: FT LEAVENWORTH: REF AGUIGUI, DEIRDRE DCIPS# 456057 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Good Afternoon SFC ay

Will someone from CMAOC please contact or send a letter to Mr {J or Mrs.

SE GE (0 officially inform them that their daughter is not
eligible to receive a CAB. There are DCIPS entries stating that she did not

qualify to receive this award but word of mouth from the CAO is not good
enough for them. Will someone please triple check to make sure she does not
qualified. Please read below email.

---—-Original Message-----

From: GD J MSG MIL NG MN ARNG
(rei TS Sr or

Sent: Thursday, April 26, 2012 3:01 PM
To: TS MB Cl (US)

Subject: RE: AAR DUE FOR APRIL 2012 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Last follow-up..

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
Any updates? | will call him next week, but anticipate me telling him no
will not be good enough an answer...
---—-Original Message----
From: i SS § Cl (US) (mailto i as On
Sent: Thursday, April 12, 2012 3:26 PM
To: P| aa MSG MIL NG MN ARNG
Subject: RE: AAR DUE FOR APRIL 2012 (UNCLASSIFIED)
Classification: UNCLASSIFIED
Caveats: NONE
No. There is nowhere to be found at her unit or DA to show that she was
entitled to a CAB and we cannot con't to look on the word of her husband.
Yes, she was in Iraq but she did not go out on any mission per her former
commander which is out of the Army now.
a
Casualty Operations Coordinator
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JAHRO043472
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-05-03 / 14:13:00 UPPA payment PO

| received a call from [jj J OFAS, regarding the UPPA check being returned undeliverable. The husband is in jail
pending trial for murder in an unrelated case. | called jj Jj C!D, regarding husband's status as a suspect in Deirdre's
murder. The CID investigation is still open and Isaac is a suspect.

DFAS is aware and will hold UPPA payment until Isaac is cleared or convicted of Deirdre's murder.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-05-14 / 14:51:00 Combat Action Badge Po

A Memo concerning the CAB has been attached in DCIPS

 

---—-Original Message-----

From: (ia GR & Civ (us)

Sent: Monday, May 14, 2012 8:52 AM

To: i GE § LTC Usarwy (us)
Co: as c\v (US); BM, usarmy (Us); SEMAN USARMY (US)
Subject: RE: FT LEAVENWORTH: REF AGUIGUI, DEIRDRE DCIPS# 456057 (UNCLASSIFIED)

Thank you | will have the CAO hand deliver this.
Appreciate your assistance.

vir

Chief, Casualty Assistance Center
Adjutant General

Directorate of Human Resources
Fort Leavenworth, KS 66027

COM: 913-684-2650; DSN 552-2650

a oe

Please take a moment and let me know how | am doing, visit:
https://ice.disa.mil/index.cfm?fa=card&service_ provider id=95737&site id=445
&

-----Original Message-----

From: (i GE &§ LTC UsSARMmy (Us)

Sent: Monday, May 14, 2012 7:51 AM

To: i MEE § CIV (US)
Cc: TT Cl (US); MEA) USARMY (US); I

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
GA. USARMY (Us)
Subject: FW: FT LEAVENWORTH: REF AGUIGUI, DEIRDRE DCIPS# 456057
(UNCLASSIFIED)
vrs.
Attached is the memo for the DSM SGT Aguigui from DA awards branch.
vir
LTC
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM __—‘To: 4/3/2015 11:54:00 AM

 

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2012-08-16 / 14:39:00 SFC §§KCID Investigation Status) Po

Requested the status of the CID Investigation:

SFC

Please verify the status of the CID Investigation for the following:
SGT AGUIGUI, DEIRDRE 456057 XXX-XX-XXXX 17 JUL 2011

ISAAC AGUIGUI - SPOUSE

nn THER

Thanks,

V/R

HQDA Casualty Case Manager

U.S. Army Human Resources Command
1600 Spearhead Division Avenue

Fort Knox, KY 40121-5743

Phone: (502) 613-8276

2012-08-16 / 14:42:00 Mr. SE (TSP Status) Po

Requested the status of the TSP

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-08-20 / 12:43:00 CID FOIA Status FP

--—Original Message—--
From: ISG USARMY HRC (US)
Sent: Monday, August 20, 2012 12:44 PM

To: [ EEE SFC USARMY (US)
Cc: USARMY Ft Knox HRC Mailbox TAGD CMAOC PEDDOPN; ( BE C!v (US); J civ (us)
Subject: RE: SGT Aguigui, Deirdre Case#456057 Non-Theater DOD: 17 JUL 2011 CID Investigation (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Investigation is still ongoing. FOURTH STATUS REPORT is the most recent
report.

ISAAC AGUIGUI - SPOUSE

SS RE FATHER

vir

Master Sergeant

Casualty and Mortuary Affairs CID Liaison

HQ, U.S. Army Criminal Investigation Command
27130 Telegraph Road

Quantico, VA 22134

COM: (571) 305-4353

FAX: (571) 305-4132

ra: IT Oi a

"Few who have never served their country will ever understand a soldier's heart."
-General Norman Schwarzkopf

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT

Date / Time CAC/BASE Name HQ Action Officer
2012-08-22 / 09:23:00 CID ROI DATED 21 AUG 2012/5TH STATUS REPORT Po
CID ROI DATED 21 AUG 2012.
5TH STATUS:

THIS REPORT PROVIDES A 120 DAY INVESTIGATIVE UPDATE.

SINCE 19 APR 12, CID HAS CONDUCTED NUMEROUS INVESTIGATIVE LEADS TO
INCLUDE SEVERAL INTERVIEWS OF THE AGUIGUI'S CLOSE FRIENDS AND FAMILY;
AND SUBMITTED A FORENSIC LABORATORY EXAMINATION REQUEST FOR THE
LATENT PRINT, TRACE EVIDENCE, SEROLOGY, AND DRUG CHEMISTRY
BRANCHES.

PENDING ACTIVITY INCLUDES THE FINAL REPORTS OF THE AFOREMENTIONED
FORENSIC EXAMINATIONS, WHICH WAS SUBMITTED ON 13 AUG 12; THE RECEIPT
OF THE DFE FINAL REPORT FROM THE DEFENSE COMPUTER FORENSICS
LABORATORY (DCFL), WHICH IS EXPECTED TO BE COMPLETED IN
APPROXIMATELY TWO MONTHS AND CONTINUE COORDINATION WITH THE
AFMEO AND THE OFFICE OF THE STAFF JUDGE ADVOCATE.

INVESTIGATION CONTINUES BY CID.

2012-09-04 / 16:59:00 Po

| received the following link to an article regarding Isaac Aguigui from WA SOS SC, Pp

Cashmere soldier Aguigui faces death penalty charges | The Wenatchee World <blockedhttp://shar.es/7FwE7>

Source: wenatcheeworld.com
LUDOWICI, Ga. (AP) ¢ A prosecutor says he will seek the death penalty against three Georgia-based soldiers, including

Isaac Aguigui of Cashmere, who are accused of killing two people to protect an anti-government militia.

Due to a change in MN AORs, the parents and siblings of Deidre Aguigui are now in SOS SC i AOR. |
have called and briefed him.

2012-09-12 / 09:24:00 Po
forward Death Certificate and TSP-U-17 to J, TSP POC

2012-09-26 / 15:12:00 Fe

Briefed 1_ THEE) his duties and responsibilities as GE Court Marshal Officer for SGT Aguigui.
2012-10-10 / 12:55:00 Mr. ( (TSP Status) Fo

Requested the status of the TSP payment.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2012-10-30 / 08:49:00 FP

Latest update on personal effects:SGT Aguiguigs residence on post was released by CID in June and the summary court
martial officer was able to collect and turn in her gear to CIF. SGT Aguiguis residence is still occupied by her and PFC
Aguiguigs belongings due to PFC Aguigui¢s incarceration. The summary court martial officer has been working with Fort
Stewartgs Administrative Law office to find the legal answer to a challenging situation. The process of out processing SGT
Aguigui from installation is temporarily on hold. The summary court officer will be in JRTC from 29 October 2012 until 21
November 2012 but was informed by Administrative Law that there should be answer for the situation upon return from
JRTC.

iLT, Ml
Summary Court Martial Officer

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-12-14 / 11:17:00 CID FOIA Status FP

---—-Original Message-—---

From EE SG USARMY HRC (US)

Sent: Friday, December 14, 2012 11:18 AM
To: USARMY Ft Stewart USAG List DHR Casualty; i J LW SFC USARMY (US); i CTR NG
MNARNG (US); USARMY Ft Leavenworth IMCOM Central Mailbox LEAV-CASUALTY

Ce: USARMY Ft Knox HRC Mailbox TAGD CMAOC PEDDOPN; Sis gag iv civ (US); ICTR

(US); EY MAJ USARMY (Us); VSG Usarmy HRc (US)
CTR (US); EY BJ L CTR (US): BJ SFC USARMy (US); EJ CTR usarmy HRe
(US); (EE CTR USARMY HRC (US); J CTR (US); C1 (US);
SS CR (US); ES Coe (US): PTR USARMY HRC (US);
SFC USARMY (US) CTR DHRA (US); SR CTR (US); BE Cv (Us);
SE SG USARMY (US); REE Clv USARMY HRC (US) EE) Clv USARMY HRC

(US) i CTR (US); EN SGT USARMY HRC (US); IEEEEEEENISFC USARMY HRC (US);
SES 8 CTR (US)

Subject: CID investigation status for SGT Aguigui, Deirdre Case#456057 Non-Theater DOD: 17 JUL 2011 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Mr. ISAAC AGUIGUI (Spouse) -- CID FOIA request has not been processed. Investigation is still ongoing. Once the

investigation is closed, a copy of the CID report will be mailed to: c/o SFC Sy i Po
ee

Mr. i GR) (Father) -- CID FOIA request has not been processed. Investigation is still ongoing. Once the

investigation is closed, a copy of the CID report will be mailed to: Pe

vir
Master Sergeant
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JAHRO043480

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RCS: DAPCX-543 Case 2:14-cv-01884-BJROBRERIGIALOUSE ONIGIO5/22/17 Page 32 0f 66 PCN: ZL9-cR2

 

STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

Casualty and Mortuary Affairs CID Liaison HQ, U.S. Army Criminal Investigation Command
27130 Telegraph Road

Quantico, VA 22134

COM: (571) 305-4353

FAX: (571) 305-4132

rai: rT

"Few who have never served their country will ever understand a soldier's heart"
-General Norman Schwarzkopf

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2012-12-18 / 08:54:00 CAO for the Spouse not in country FP

---—-Original Message-—---

From: {EN VSG USARMY HRC (US)

Sent: Tuesday, December 18, 2012 8:54 AM

To: TS V ClV (US) i CTR (US); AJ USARMY (US); as
MSG USARMY HRC (US) i CTR (US); SR GE L CTR (US): BB) SFC
USARMY (US); { CTR USARMY HRC (US); SE CTR USARMY HRC (US);
SS CTR (US); SE A C1 (US); CTR (US); CTR
(US); ICTR USARMY HRC (US); ESC: USARMY (US); EC TR DHRA (US);
Re Us): as |’ (Us);  Visc sary (Us); CIV
USARMY HRC (US); CIV USARMY HRC (US): CTR (US); SGT

USARMY HRC (US); IIEESFC USARMY HRC (US) EEE CTR (US)
Cc: USARMY Ft Knox HRC Mailbox TAGD CMAOC PEDDOPN

Subject: FW: CID investigation status for SGT Aguigui, Deirdre Case#456057 Non-Theater DOD: 17 JUL 2011
(UNCLASSIFIED)
Importance: High

Classification: UNCLASSIFIED
Caveats: NONE

Good morning Transition Team,

SFC J (CAO for Mr. ISAAC AGUIGUI (Spouse) is currently in Afghanistan (see email below). He is listed in DCIPS as
active status. Mr. Aguigui has requested the CID report be mailed to his CAO. Please verify with the CAC if they will assign
a new CAO once the CID investigation is closed and the report is completed or if they want it mailed to the CAC. The CAO
Tab will need to be updated also.

Thank you,

vir

Master Sergeant
Casualty and Mortuary Affairs CID Liaison

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

HQ, U.S. Army Criminal Investigation Command
27130 Telegraph Road

Quantico, VA 22134

COM: (571) 305-4353

FAX: (571) 305-4132

Email: as

"Few who have never served their country will ever understand a soldier's heart"
-General Norman Schwarzkopf

--—-Original Message—---

From: (i GJ . SFC USARMy (US)

Sent: Tuesday, December 18, 2012 3:10 AM

To EEE 'sc usarmy HRc (us)

Subject: RE: CID investigation status for SGT Aguigui, Deirdre Case#456057
Non-Theater DOD: 17 JUL 2011 (UNCLASSIFIED)
Importance: High

Roger,

Message acknowledged, | am currently in Bagram, Afghanistan so if you could send it to my SIDPR and CENTRIX account
instead of my home | would appreciate it.

SFC

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT

Date / Time CAC/BASE Name HQ Action Officer
2012-12-31 / 09:04:00 CID ROI DATED 28 DEC 2012/6TH STATUS REPORT Po
CID ROI DATED 28 DEC 2012.
6TH STATUS:

THIS REPORT IS SUBMITTED TO PROVIDE AN INVESTIGATIVE UPDATE.

SINCE 21 AUG 12, CID HAS CONDUCTED NUMEROUS INVESTIGATIVE LEADS TO
INCLUDE ADDITIONAL INTERVIEWS OF THE AGUIGUI'S FRIENDS AND FAMILY;
THE RECEIPT OF FORENSIC REPORTS FROM USACIL AND DCFL; AND THE
SUBMISSION OF FORENSIC LABORATORY EXAMINATION REQUESTS FOR
ADDITIONAL DIGITAL MEDIA EXAMINATIONS AND DNA ANALYSIS.
ADDITIONALLY, THIS OFFICE ATTEMPTED TO RE-INTERVIEW PVT AGUIGUI, WHO
INVOKED HIS RIGHTS AND REQUESTED LEGAL COUNSEL.

PENDING ACTIVITY INCLUDES RECEIPT OF THE FINAL REPORTS FROM THE 10TH
MP BN (CID) DIGITAL MEDIA EXAMINER AND AFMES, WHICH ARE EXPECTED TO
BE COMPLETED NEXT MONTH.

INVESTIGATION CONTINUES BY CID.

2013-02-01 / 09:39:00 Notes Po
“Notes

Benefits on hold pending completion of trial.

2013-02-19 / 15:46:00 Po

Assigned 1LT Es Summary Court Martial Officer. Briefed him on his duties and responsibilities.

a
Coli
Ca

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2013-03-28 / 11:00:00 es

Was contacted by LTC fF about this case this week. The Father may be being charged with murder so I'll be getting in
touch with the SNOK here in MN. My state counterpart originally had this case until our AOR re-alignment. | will be calling
the past CAO to gather family dynamic information and update DCIPS accordingly as needed.

Will take a "backseat" in this process, however, and defer to those working the legal process.

Survivor Service Coordinator - SOS
MPSC Contractor

651.282.4028 (office)

a
2:
a
2013-04-24 / 09:30:00 CID ROI DATED 23 APR 2013/FINAL REPORT Po
CID ROI DATED 23 APR 2013.
INVESTIGATIVE

The Military Police, Fort Stewart, GA (FSGA) notified CID that PFC AGUIGUI (20 Y/O) found

his wife, SGT AGUIGUI (24 Y/O), deceased inside their on-post residence.

Investigation established probable cause to believe PFC AGUIGUI murdered SGT AGUIGUI by
suffocation, which then resulted in the death of her unborn child.

The Armed Forces Medical Examiner's (AFME) autopsy report revealed the cause and manner of

SGT AGUIGUI's death could not be determined by forensic analyses and her toxicology was void

of any controlled substances or ethanol.

MAJ SE. Office of the Staff Judge Advocate (OSJA), FSGA, opined there was

probable cause to believe PFC AGUIGU] murdered his wife and unborn child.

2013-05-09 / 08:29:00 Po
Attached Legal Document, stating that we can move forth with the parents being appointed as the PERE in this case. PERE
MEMO will be attached later, naming the father as the PERE.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM_—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2013-05-09 / 09:18:00 emailed Ft Steward/TT Po

original CAO (1SG {J had been reactivate.

---—-Original Message-—---

From: i GE A Civ (us)

Sent: Thursday, May 09, 2013 8:18 AM

To: i cv USARMY IMCOM ATLANTIC (US)

Cc: 'usarmy.stewart.usag.list.dhr-casualty@mail.mil'; 'usarmy.knox.hrc.mbx.tagd-cmaoc-altfem@mail.mil'
Subject: FT LEAVENWORTH: CAR FOR SGT AGUIGUI-DCIPS#456057 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Good Morning Mr. a

The original CAO (1SG J had been reactivate as the CAO for SGT
Aguigui's parents. | have updated his phone numbers in DCIPS.

Casualty Operations Coordinator

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT

Date / Time CAC/BASE Name HQ Action Officer
2013-05-14 / 13:24:00 emailed SCMO Po
PE
---—-Original Message-----
From: i GE A Civ (us)
Sent: Tuesday, May 14, 2013 11:55 AM
To: SE conus.army.mil'
Cc: SS BJ C'\v USARMY IMCOM ATLANTIC (US);

Subject: FORT LEAVENWORTH CAC: REF: SGT AGUIGUI PROPERTY (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Good Afternoon 1LT ij
| am inquiring about SGT Aguigui's personal property. Her parents lives in

our area and the father would like to know how much stuff do she have to be
delivered to him. He just want to Know so he can plan accordingly.

‘ss

This is the [J Court Martial Officer (SCMO) that is handling SGT
Aguigui's PE.

Casualty Operations Coordinator

2013-05-29 / 15:01:00 Po

Attached PERE MEMO for the father of SGT Aguigui.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

PERE information update to reflect new determination.

2013-06-26 / 13:52:00

FYI- Survivor/Pvt. Isaac Aguigui of Cashmere, Wash., will face a military hearing to determine if a court-martial should try
him in the death of his wife, Army Sgt. Deirdre Aguigui, said Fort Stewart officials in southeast Georgia. The Army also
charged Aguigui with causing the death of an unborn child, a boy, when his wife died in July 2011. Military authorities spent
nearly two years investigating, but have not released any details about the killing.

2013-05-30 / 13:27:00 PERE determination PO

"Every victim deserves to have their case prosecuted. In this case it took some time," said Fort Stewart spokesman (ill

Less than five months after his wife's death, Aguigui and three fellow Fort Stewart soldiers were charged by civilian
authorities in the December 2011 shooting deaths of a former member of their Army unit, and ae 17-
year-old girlfriend, fF Civilian prosecutors are seeking the death penalty for Aguigui, saying he ordered the deaths
to keep the couple from exposing the militia group.

Civilian prosecutors said in court last August that Aguigui, 21, recruited and led a group of disgruntled Army soldiers who
plotted attacks ranging from bombing a park fountain in Savannah to poisoning apple crops in Washington state. They said
the group also wanted to assassinate an American president, though prosecutors never specified if the target was President
Barack Obama.

In addition to malice murder and felony murder, Aguigui faces state charges of criminal gang activity, aggravated assault and
using a firearm while committing a felony.

2013-08-21 / 10:22:00 Po

FW: AGUIGUI Shipment Status (UNCLASSIFIED)

Still in contact with the CAO, 1SG {J The AGUIGUI household goods were packed on Wed, 7 August 2013 and
shipped from Savannah to Golden Valley, Minnesota on 9 August 2013 by Foremost Forwarders, Inc (503-245-1090). The
GBL number is CHAT0024673. The arrival date was scheduled for Friday, 16 AUG 2013 and by the information from the
CAO below, 1SG P| it has arrived. But the family is currently not in town and not ready to receive the household
goods. Once | get the confirmation from 1SG J that the family has received the household goods and is satisfied
with the move, | will close out the case. My apologies for the lack of communication. | will keep you informed on any further
developments.

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STAFF JOURNAL

Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
1LT, TC
HHC REAR OIC
D CO 4-3 BSTB
912-435-8780
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2013-09-05 / 14:59:00 |
SN sossc:

GR 2t LEA CAC emailed and phoned requesting my assistance to the parents, Jj and i GM | also spoke
with 1SG I've left a message on Mr. J phone re-introducing myself and will follow up with another call
later today. Items brought to my attention by the CAO:

1. Parents want to connect with SGT Aguigui's unit regarding giving a gift on her behalf.

2. parents are still trying to settle with college loans in Diedre's name.

3. Family will need SOSSC outreach by phone on a timely basis while this trial is in process.

I've spoken with MN SOSSC and between the two of us we will stay in touch with the gj Family.

2013-09-05 / 17:52:00 Po

| spoke with {ij SJ (father) today. They are going through the PE and ‘trying to decide what should be thrown away’.
He sounded weary. | offered to have a POC from the St. Paul Police Dept Survivor Resources call him; she deals with
survivors of traumatic death daily and will be able to give them some advice on coping and keeping. He accepted that offer
and gave permission for me to give her their phone number. I've completed a client card and submitted to JAG for
assistance with the school loans. | tried calling the FRSA for 4-3 BSTB at FT Stewart but there wasn't voicemail. I've emailed
the FT Stewart SOSSC for assistance in connecting with the unit FRG. The [J would like to make a contribution to
the FRG to assist pregnant women. | have mailed a card to the PY with contact information for both myself and my
MN counterpart {ij J and stressed that they should call us any time. {J and | will continue to outreach on a
regular basis.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2013-09-25 / 12:04:00 Emailed to Mr. a as

Hello,
Just following up on any information you can provide on these claims. Please read the e-mail below.

Thanks,

Claims Examiner

OSGLI Claims

Sent by:

OSGLI (NJ110132)
Phone Number: (800) 419-1473
Fax Number: (877) 832-4943

Wed 08/07/2013 01:20 PM To
USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty <usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil>,

cc
‘Ts GS Cl US)" GR GE) Subject Aguigui, Deidre A. Claim #11352006 & FSGLI #11352006

Hello,

We were advised from AHRC that iy is the Casualty Liaison Officer for the Aguigui case. We were contacting
him to check if he can provide the expected trial date for Isaac G Aguigui. Isaac has been charged with murder in the death
of Dierdre and the death of an unborn child. We have not received any response from him. Is there any information you can
provide in regards to these cases. We will appreciate any information you can supply to our office.

Thanks in advance,

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

Claims Examiner

2013-11-08 / 13:05:00 Po

Attached the Final Report on Disposition of Personal Effects.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2013-12-11 / 09:38:00 F
SEES 1 sossc:

MSG J MNARNG JAG, has made several attempts to contact [ij J to assist with Deirdre's school loan payoffs.
Mr. BM isn't responding to JAG's phone calls or emails. A MN SOS SC, has also tried contacting Mr.
GEE with no results. I've sent an email to CAO, MSG ij J with an update on this issue. We will continue all
MN SOS outreach to Mr. J and the family.

2014-01-22 / 14:53:00 Transfer to HQ SOS IMCOM PF

This case has been transferred to HQ SOS IMCOM as of today. HQ SOS IMCOM will assign an SOS coordinator who is
responsible for updating the CAO tab with their contact information.

HQ SOS IMCOM has been advised of the following pending issues:

- CMTT OIC exception memo has been completed and attached.

- | have received a verification email from Ms. fe (Fort Leavenworth CAC Chief) confirming there are no pending issues
with their involved NOK.

- A FOIA request is still pending for the CID Report (Spouse).

- Spouse is currently incarcerated, see journal for details.

- FSGLI, SBP, SSA, TSP, Arrears of Pay, and the Final LES are pending trial conclusion.

- Case transferred per LTC J guidance.

2014-01-28 / 10:54:00 Po

The CAO tab has been updated with current SOSC info, former MN SOSC ( bas been made Non
Active, NOK (s) have been assigned/transferred, and ongoing outreach will be/nas been occurring in the forms of MN SOS
Quarterly Newsletters, Cards, Letters, and Invitations to Gold Star Events.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-04-11 / 12:20:00 Ms. i Po

| spoke with Ms. | | in reference to DSM's husband being convicted of her murder and | wanted to know if any monetary
benefits(SGLI, DG, UPPA) will now be paid to the parents. Ms. || stated we need a copy of the conviction order to
proceed from Fort Stewart.

Classification: UNCLASSIFIED
Caveats: NONE

STE CAC,

Isaac Aguigui was convicted of his spouse's death in late March.

Would you please provide a copy of the conviction so that we may process
her benefits? Thank you.

Ms a

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hre.mbx.tagd-cmaoc-csb-casualty@mail.mil

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM__—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-04-15 / 13:29:00 Insurances Po

---—-Original Message—---

From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty

Sent: Tuesday, April 15, 2014 1:21 PM

To: 'OSGLI Claims'

Ce: fT | | G CIV USARMY IMCOM ATLANTIC (US); mm CIV USARMY IMCOM ATLANTIC (US)
Subject: FW: SGLI and FSGLI - SGT AGUIGUI, DEIRDRE and Kalvin Aguigui DOD: 17 JUL 2011(UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

OSGLI,
Please see attached conviction of Isaac Aguigui. Requesting a review of the following insurances:

Deirdre's SGLI - Erroneously paid to the SM. Will new beneficiary determination be made and paid?
Deirdre's FSGLI - Not issued, need beneficiary determination Kalvin's FSGLI - Not issued, need beneficiary determination

Ms a

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-04-15 / 13:30:00 DG and BAH PF

--—Original Message—--

From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty

Sent: Tuesday, April 15, 2014 1:30 PM

To: 'dfas-incasualty@dfas.mil'; i GE Cv OFAs'

Cc: SY Clv USARMY USAG (US); CIV USARMY HRC (US); i MSG

USARMY (US); SE GJ Cv USARMY IMCOM ATLANTIC (US); SE EI Clv USARMy ImMcom
ATLANTIC (US)

Subject: DG and BAH - Aguigui, Deirdre DOD: Jul 2011 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

DFAS,

DG and BAH were erroneously paid to the spouse of this soldier. He was just convicted of her death. See attached. Will
you make a beneficiary determination and issue payment to the correct beneficiary(ies)? Please advise so that we may
assist. Thank you.

vs

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

2014-04-15 / 13:31:00 UPPA fr

Per the Arrears of Pay tab:

"PAID UPPA 12/19/11 IN THE AMOUNT OF 9318.98 TO ISAAC AGUIGUI SPOUSE(TM)12/21/11. UPPA check was
returned undeliverable due to the husband being in jail, per HJ DFAS. i’

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JAHRO043496
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RCS: DAPCX-543 Case 2:14-cv-01884-BJROBRERIGIALOUSE ONIEYIO5/22/17 Page 48 of 66 —PCN: ZL9-cR2

 

 

STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-04-15 / 13:36:00 UPPA PF

--—Original Message—--
From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
Sent: Tuesday, April 15, 2014 1:36 PM

To: 'dfas-incasualty@dfas.mil'; i GE Cv OFAs'

Cc: MMIc 'v USARMyY USAG (US); J BJ C'V USAR IMCOM ATLANTIC (US);
CIV USARMY IMCOM ATLANTIC (US) REC |V USARMY HRC (US) MSG USARMY (US)
Subject: UPPA - Aguigui, Deirdre DOD: Jul 2011 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

DFAS,

Our records indicate that a gentlemen named Eric at DFAS informed is that the UPPA check was sent to the spouse, but
returned because he was incarcerated. He has now been convicted. See attached. Requesting a beneficiary designation
for the UPPA. Please let us know if there is any further we can do to assist in getting this paid. Thank you.

Ms a

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-04-15 / 14:00:00 DG, BAH, UPPA Determination PF

--—Original Message—--

Fro ES CV OFAS (eit i
Sent: Tuesday, April 15, 2014 1:57 PM

To: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty

Subject: RE: DG and BAH - Aguigui, Deirdre DOD: Jul 2011 (UNCLASSIFIED)

Mrs.

We can send out the UPPA payment to be split between the parents, but the
BAH and DG won't be able to be reissued because they were both paid in good
faith at the time of payment. Can you get us an 1174 from both the mother

and father so that we can pay them the UPPA?

Thanks,

Team Lead

Army Casualty Team
Military Pay Operations
Comm: (317) 212-7421
DSN: 699-7421

Fax: (317) 275-0353

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-04-15 / 14:01:00 UPPA PF

---—Original Message—--

From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
Sent: Tuesday, April 15, 2014 2:00 PM

To: 'usarmy.leavenworth.imcom-west.mbx.leav-casualty@mail.mil'

Cc: GR Cv OF As’; BR J S Cv UsSaRMy USAG (Us)

Subject: FW: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

LEA CAC,
DFAS is requesting an 1174 from each parent please. Thank you.

Mrs i

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hre.mbx.tagd-cmaoc-csb-casualty@mail.mil

2014-04-16 / 16:08:00 Journal entry Po

SF 1174's for parents were faxed to DFAS on 4/16/14. i LEA CAC.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM_—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-04-17 / 09:30:00 DG in Review for a FINAL Determination PF

---—Original Message—--

From: i GE Clv OFAs [mailto OF Asi)
Sent: Wednesday, April 16, 2014 1:39 PM

To: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty

Subject: RE: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011 (UNCLASSIFIED)

You're welcome. I've already sent up all the pertinent information to OGC
and hopefully will hear something soon.

Thanks,

Team Lead

Army Casualty Team
Military Pay Operations
Comm: (317) 212-7421
DSN: 699-7421

Fax: (317) 275-0353

---—-Original Message-----

From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
[mailto:usarmy.knox.hre.mbx.tagd-cmaoc-csb-casualty@mail.mil]
Sent: Wednesday, April 16, 2014 1:37 PM

To: SEI CIV DFAS

Subject: RE: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011
(UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

Thank you. | really appreciate it.

Mrs a

SR Benefits and Entitlements Officer
Casualty Support Section

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

-----Original Message-----

From: i GE Cv OF As [mailto OF As. vi)
Sent: Wednesday, April 16, 2014 1:09 PM

To: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty; USARMY Ft
Leavenworth IMCOM Central Mailbox LEAV-CASUALTY

Cc: EE Cv USARMY USAG (US); J Clv UsARMy HQDA
HRMD (US)

Subject: RE: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011

(UNCLASSIFIED)

Mrs.

| am going to send up all the information to OGC right now to have them make
a determination. Once | get the decision from them, | will forward the
information along to you. | can't give you a clear deadline on their

decision, but will keep you informed.

Thanks,

Team Lead

Army Casualty Team
Military Pay Operations
Comm: (317) 212-7421
DSN: 699-7421

Fax: (317) 275-0353

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

---—-Original Message----

From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
[mailto:usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil]

Sent: Wednesday, April 16, 2014 1:05 PM

To: i i CIV DFAS; USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB
Casualty; USARMY Ft Leavenworth IMCOM Central Mailbox LEAV-CASUALTY
Ci CIV USARMY USAG (US); DFAS-IN CASUALTY;
CIV USARMY HQDA HRMD (US)

Subject: RE: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011

(UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

MT

MSG (J will be leaving us soon (SEP | believe). You should

know that Mr. {i and myself are the benefits officers here and
will be your POCs for benefits. Now, our records show that DG was paid by
Fort Stewart to Isaac Aguigui, spouse, on 21 July 2011 via EFT. At that
time, CID was not communicating well with us and it wasn't until he killed
two others that they finally arrested him. Then they started really looking

at this SM and her unborn child's death as a murder. Who do | speak to at
the OGC in order to get a FINAL determination on the DG? Her poor family
has been through enough, I'd rather the Army fight for their benefits than

to drag them through this mess any further.

Ms i

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

--—-Original Message-—---

From: i GE Cv OF As [mailto OF As vit)
Sent: Wednesday, April 16, 2014 11:54 AM

To: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty; USARMY Ft
Leavenworth IMCOM Central Mailbox LEAV-CASUALTY

Cc: PY CIV USARMY USAG (US); DFAS-IN CASUALTY

Subject: RE: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011
(UNCLASSIFIED)

vrs

| am checking with MSG MM to see if the DG payment was ever made. The
BAH payment couldn't be paid to the parents anyway because they are not
entitled to the payment, since there was no surviving dependent. If it's

found that the DG payment was made, then it will have to be up to OGC to

make a determination on whether the DG can be reissued.

Thanks,

Team Lead

Army Casualty Team
Military Pay Operations
Comm: (317) 212-7421
DSN: 699-7421

Fax: (317) 275-0353

-----Original Message-----
From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
[mailto:usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil]
Sent: Wednesday, April 16, 2014 11:23 AM
To: USARMY Ft Leavenworth IMCOM Central Mailbox LEAV-CASUALTY; USARMY Ft
Knox HRC Mailbox TAGD CMAOC CSB Casualty
Cc: P P| CIV DFAS; FP CIV USARMY USAG (US); DFAS-IN
CASUALTY
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

Subject: RE: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011
(UNCLASSIFIED)
Importance: High

Classification: UNCLASSIFIED
Caveats: NONE

Ms

| understand your concern and in my personal opinion, | am with you.

CID would not say he was a suspect or a person of interest. Their lack of
communication could have prevented not only these payments, but possibly
saved the life of two other people. It is a really unfair situation, but it

is DFAS' decision.

DFAS,
Is there no exception here? Anything that the family or ourselves
can do to get this overturned?

vs a

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

-----Original Message-----
From: USARMY Ft Leavenworth IMCOM Central Mailbox LEAV-CASUALTY
Sent: Tuesday, April 15, 2014 2:16 PM
To: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty; USARMY Ft
Leavenworth IMCOM Central Mailbox LEAV-CASUALTY
Cc: P| 7 W CIV DFAS (US); Po CIV USARMY USAG (US)
Subject: RE: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011
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JAHRO043504
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RCS: DAPCX-543 Case 2:14-cv-01884-BJROBQERIGHALOUSE BNIEYD5/22/17 Page 56 of 66 ——PCN: ZL9-cR2

 

 

STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

(UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

| question that it was paid in good faith when benefits should have been on
hold.

Ms i - see journal entry 18, 22 & 38.Between CMAOC/STE CAC/CID and DFAS
there was a failure to communicate. CID could not state whether he was a

person of interest or not at that time. In addition STE Finance had

submitted the payment to DFAS and there was to be an attempt to pull the

payment back. Later CID says he's not and payment is reissued on 21 Jul

Ms
a

Chief, Casualty Assistance Center
Adjutant General

Directorate of Human Resources
Fort Leavenworth, KS 66027

COM: 913-684-2650; DSN 552-2650

Please take a moment and let me know how | am doing, visit:
http://ice.disa.mil/index.cfm?fa=card&sp=121299&s=445&dep=*DoD&sc=33

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official business of the United States Government. This communication may
contain information that is exempt from disclosure under the Freedom of
Information Act, 5 U.S.C. 552 and the Privacy Act, 5 U.S.C.552a.
Addressees/recipients are not to disseminate this communication to
individuals other than those who have an official need to know the
information in the course of their official government duties. If you
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

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and destroy all electronic and hard copies of the communication, including
attachments.

-----Original Message-----

From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty

Sent: Tuesday, April 15, 2014 1:00 PM

To: USARMY Ft Leavenworth IMCOM Central Mailbox LEAV-CASUALTY

Cc: Si GW Cv DFAS (US); J Civ USARMY USAG (US)
Subject: FW: DG, BAH and UPPA - Aguigui, Deirdre DOD: Jul 2011
(UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

LEA CAC,
DFAS is requesting an 1174 from each parent please. Thank you.

Ms a

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

-----Original Message-----

For TE SE Cv OFS [meito Si a

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

Sent: Tuesday, April 15, 2014 1:57 PM
To: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
Subject: RE: DG and BAH - Aguigui, Deirdre DOD: Jul 2011 (UNCLASSIFIED)

Mrs.

We can send out the UPPA payment to be split between the parents, but the
BAH and DG won't be able to be reissued because they were both paid in good
faith at the time of payment. Can you get us an 1174 from both the mother

and father so that we can pay them the UPPA?

Thanks,

Team Lead

Army Casualty Team
Military Pay Operations
Comm: (317) 212-7421
DSN: 699-7421

Fax: (317) 275-0353

-----Original Message-—---

From: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
[mailto:usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil]
Sent: Tuesday, April 15, 2014 1:30 PM

To: DFAS-IN CASUALTY; ES EJ Cv DFAS
Cc: I Clv USARMY USAG (US); J Cl USARMY HRC (US);
SE SG USARMY (US); J Clv USARwy IMcom

ATLANTIC (US); GE ClV USARMY IMCOM ATLANTIC (US)
Subject: DG and BAH - Aguigui, Deirdre DOD: Jul 2011 (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

DFAS,
DG and BAH were erroneously paid to the spouse of this soldier. He
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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM_—‘To: 4/3/2015 11:54:00 AM

 

 

CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

was just convicted of her death. See attached. Will you make a beneficiary
determination and issue payment to the correct beneficiary(ies)? Please
advise so that we may assist. Thank you.

Mrs i

SR Benefits and Entitlements Officer

Casualty Support Section

United States Army Human Resources Command

1600 Spearhead Division Ave

Fort Knox, Kentucky 40122

(502) 613-8342

DSN:(312) 983-8342

FAX:(502) 613-4505
usarmy.knox.hrc.mbx.tagd-cmaoc-csb-casualty@mail.mil

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2014-04-17 / 09:38:00 FSGLI Determination PY

---—-Original Message—---

For TS (i iY On Behalf Of OSCLI Claims

Sent: Thursday, April 17, 2014 9:08 AM
To: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
Subject: Re: FW: SGLI and FSGLI - SGT AGUIGUI, DEIRDRE and Kalvin Aguigui DOD: 17 JUL 2011(UNCLASSIFIED)

Good morning.

No decision has been made as to yet regarding the SGLI - the 2011 benefit was issued based on a certification that allowed
the claim to be paid as presented. Matter is under discussion here and | will Keep you informed

FSGLI on Deirdre - Isaac was excluded under the Slayer's Rule, as was his mother as his contingent. Claim requests have
been sent to her parents as next in line for the benefit payable to her family by law (not payable to her spouse as he was
disqualified, no children, parents are next).

FSGLI on Kalvin - was payable under Deirdre's FSGLI - she is of course unable to collect and Isaac would be next in line as
her SGLI beneficiary. He, however, is disqualified under Title 38, 1970(b) as he did not file claim within one year of the
stillbirth. As a result, the benefit goes to her contingents, which are her parents. Claims requests have already been sent to
them last week.

Please fee! free to call me if you wish to discuss.

2014-04-21 / 11:10:00 Po

Shipped the remainder of SGT Aguigui personal effect today, attached FedEx tracking information.

2014-04-22 / 13:03:00 Journal Note Po

Additional PE received by Mr J on 22 Apr 14. CAO, 1SG J was present and assisted with inventory.

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM __—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2014-04-23 / 12:25:00 a

Contacted Idaho SOSC ij (J via phone and below email to inform J and request transfer of Survivor
responsibility.

Hey ii.
| met with the J who have informed me their daughter J is living in Idaho. J her father has

provided me her contact information and request we outreach to her. P| also said she has been struggling with the
passing of her sister and thought she would be open to bereavement counseling resources. | have updated a:
information in the Module and in DCIPS but request you update the CAO Tab and assign yourself as the Support
Coordinator in both data bases.

Respecttully,

Army Survivor Outreach Services
Support Coordinator
Human Resources Consulting Inc. Contractor

651-282-4116 (Office)
mil@mail.mil

2014-04-23 / 12:32:00 ro

Idaho Survivor Outreach Services: Received phone call and email from {Survivor Outreach Coordinator in
Minnesota notifying me of the deceased soldiers sister, JJ that resides in Idaho. The Deceased parents have
requested that she be contacted and provided with grief counseling referrals as she is in need of them at this time. | have

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JAHR0043510
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RCS: DAPCX-543 Case 2:14-cv-01884-BJROB@QERIGIALOUSE ONIGY5/22/17 Page 62 0f66 PCN: ZL9-cR2

 

 

STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

updated my information in the CAO tab and will make contact with her and provide referrals for her as well as any additional
support she requires.

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RCS: DAPCX-543 Case 2:14-cv-01884-BJROBRERGIALOUSE ONEYIH5/22/17 Page 63 of 66 PCN: ZL9-cR2

 

 

STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2014-05-06 / 10:12:00 Final DG Determination PY

---—-Original Message—---

From: SS CV OFAS (rc

Sent: Tuesday, May 06, 2014 9:53 AM

To: i W CIV DFAS (US)

Cc: USARMY Ft Knox HRC Mailbox TAGD CMAOC CSB Casualty
Subject: RE: Death Gratuity, SGT Deirdre A. Aguigui; PL #14-16068

This is in response to your request for an opinion regarding whether a second death gratuity payment should be issued for
the benefit of the surviving parents of SGT Deirdre A. Aguigui. It is our opinion that pursuant to the specific facts of this
case, a second payment of death gratuity should not be made.

The information provided shows as follows: SGT Deirdre A. Aguigui died on July 17, 2011. On her DD Form 93, Record of
Emergency Data, she designated her husband, Isaac Glen Aguigui, as the beneficiary of her death gratuity. SGT Aguigui
was survived by her spouse, she was not survived by any children. The Staff Journal from the Finance activity at Fort
Stewart, Georgia, specifies that on or about July 18, 2011, a payment of death gratuity was made to the beneficiary, Isaac
Glen Aguigui. However, due to pending CID investigations into the circumstances of the death of SGT Aguigui, the payment
was soon successfully pulled back from the bank. See Staff Journal, notes of July 21, 2011, 10:55:00. Personnel at Fort
Stewart contacted Agent ij IJ of the CID Office and were told that, he was unable to say “at this time" whether or not
the spouse is a person of interest (in the death of SGT Aguigui); he would be able to conclude whether the spouse was a
person of interest upon review of the results of the autopsy. See Staff Journal, notes of July 19, 2011, 12:16:00. Upon
completion of the autopsy, Agent i informed that the spouse was not considered a person of interest at this time. See
Staff Journal, notes of July 21, 2011, 10:55:00. With the information provided by Agent iii a second and final payment of
death gratuity was made on July 21, 2011 to SGT Aguigui's designated beneficiary, her spouse Isaac Glen Aguigui. See
Staff Journal, notes of July 21, 2011, 15:54:00. Subsequently, on March 27, 2014, Isaac G. Aguigui was convicted of the
murder of SGT Aguigui and her unborn child. See Department of Defense Report of Result of Trial, dated March 27, 2014,

The Comptroller General has held that the Government is not liable for a second payment of death gratuity to a proper payee
where the original payment was made in reliance on the service member's representations, whether willful or erroneous, and
nothing otherwise appeared to give rise to doubt as to the correctness of such representations. See Comp. Gen. decision,
B-176847, March 21, 1973; B-166915, June 18, 1969; 37 Comp. Gen. 131 (1957). In such cases, the payment to the initial
beneficiary is not considered to be erroneous (based on the information available at the time of payment). Therefore, the
Government has obtained good acquittance and no subsequent payment is authorized. Applied to the instant case, the
payment to Isaac G. Aguigui was made only after finance officials at Fort Stewart had been informed by an agent at CID that

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

Isaac was not considered a person of interest in the death of SGT Aguigui. Thus, the payment was reasonably made based
on the information available at the time of payment. Unfortunately, many years after that payment was made and following
the discovery of additional information by law enforcement officials, Isaac G. Aguigui was charged, tried, and found guilty of
the murder of SGT Aguigui. However, the original payment of death gratuity to Isaac G. Aguigui was not erroneous based
on the information available at the time the payment was made, therefore, there is no entitlement for a second payment.

If you have questions regarding this opinion, please give me a call.

Senior Associate Counsel
Office of General Counsel

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM __—‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer
2014-05-08 / 16:20:00 ro

The SOSC tab has been reviewed / updated with current SOSC info; NOK(s) ay GE EE
Se GS Contact information has annually been verified & reviewed; ongoing outreach has been

occurring and will continue to occur in the forms of MN SOS Quarterly Newsletters, Minnesota Sos private Facebook support
group/network, Cards, Letters, Invitations to Gold Star Events, and needs assessment inquiries.

2014-05-20 / 09:21:00 FSGLI Paid Fs
GS 2": SR GE) parents, were paid $50,699.21 each on 04/28/14.
2014-11-25 / 11:38:00 a __

Delayed entry: On 10Nov2014 | personally delivered the 15-6 Investigation to ij & GS EJ at their HOR. | also
assisted them in filing out VA Form 40-1330, faxed the paperwork to the National Cemetery Scheduling Office, and provided
GB the means necessary to coordinate the final details with the National Cemetery Scheduling Office. The family is

planning on having SGT Aguiguiés ashes laid to rest at the Jefferson Barracks National Cemetery.

2014-11-25 / 12:13:00 emailed Mr. J and Ms. Sa Po

15-6 Delivered

---—-Original Message----

From: i GE A Civ USARMY USAG (US)

Sent: Tuesday, November 25, 2014 11:12 AM
To: f | P| CIV USARMY HRC (US); Po CIV USARMY HRC (US)
Subject: 15-6-AGUIGUI, Deirdre, DOD 17 JUL 2001, Case#456057

Good Afternoon,

The 15-6 was delivered On 10Nov14 to SGT Aguigui's parents, Sy &
GE They are making plans to bury her ashes, no date set yet.

vir

Casualty Operations Coordinator

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STAFF JOURNAL
Period Covered: From: 7/18/2011 4:37:00 AM ‘To: 4/3/2015 11:54:00 AM
CASE NR: 456057 SERVICE: United States Army Name: Deirdre Alice Aguigui
Rank: SGT
Date / Time CAC/BASE Name HQ Action Officer

 

2015.04-03/11:5400 i |
The CAO tab has been reviewed / updated with current SOSC info; NOK(s) I) I EE .

EE Contact information has annually been verified & reviewed; ongoing outreach has been occurring
and will continue to occur in the forms of MN SOS Quarterly Newsletters, Minnesota SOS private Facebook support
group/network, Cards, Letters, Invitations to Gold Star Events, and needs assessment inquiries.

Back in November of 2014 | had provided f | contact information to the Jefferson Barracks National Cemetery Scheduling
office and help him complete the VA headstone paperwork. In following up with iy he stated that he hasnét made the
time and his family is still not quite ready to deal with a burial ceremony. Last fall i was running for a local state House of
Representative Seat and is now currently in the process of selling his over seags engineering company for a substantial
amount of money. i said he would reach out to me if he needed any assistance with Jefferson Barracks when their
family was ready for a burial ceremony and greatly appreciated all SOS and myself have done for him and his family.

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